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IN THE UNITED STATES DISTRICT COURT 05/4{4?2 nn
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EASTERN DIVISION QUefi» A""J" /
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TERESA A. DAVIS,

Plaintiff,

VS. No. 05-1121-T/An

MERCK & CO., INC., ET AL.,

\_/\_/\_/\-_/\_/\._/\-_v'\./\._/

Defendants.

 

ORDER GRANTING MOTION TO STAY

 

Plaintiff Teresa A. Davis filed this action in the Circuit Court of Madison County,
Tennessee, on March 24, 2005, against Merck and Cornpany, Inc., maker of the prescription
drug known as Vioxx. Plaintiff also named as defendants certain local Mercl< sales
representatives and pharmacists Merck removed the action to this Court on April 25, 2005,
on the basis of diversity of citizenship, contending that the non-diverse defendants Were
fraudulently joined in an attempt to defeat diversity jurisdiction.

Also on April 25, 2005, Merck filed a motion to Stay all further proceedings pending
a decision by the Judicial Panel on Multidistrict Litigation (“MDL Panel”) on whether this
case Should be transferred to the United States District Court for the Eastern District of
Louisiana as a “tag-along” action in MDL Proceeding No. 1657, In re Vioxx Product
Liability Litigation. Plaintiff filed a motion to remand the action to state court on May l3,

2005.

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with Rule 58 and.‘or_'fs (a) FHCP on §

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The MDL Panel issued the first Transfer Order establishing MDL-1657 on February

16, 2005. In that order, the Panel stated:
The pendency of a motion to remand to state court is not a sufficient

basis to avoid inclusion in Section 1407 proceedings We note that motions

to remand in two actions, one action each in the District of Kansas and the

Eastern District ofMissouri, as well as in any other MDL-1657 actions can be

presented to and decided by the transferee judge See, e.g., In re Ivy, 901 F.Zd

7 (Zd Cir. 1990); In re Prudential Insurance Company ofAmerica Sales

Practz'ces Litigation, 170 F. Supp. 2d 1346, 1347-48 (J.P.M.L. 2001).
Transf`er Order, at 2 (J.P.M.L. Fcb. 16, 2005).

The pendency of transfer to the MDL proceeding does not limit the authority of this
Court to rule on the plaintiff’s motion to remand. w JPML R. 1.5. The decision whether
to grant a stay is within the inherent power of the Court and is discretionary §§ Landis v.
North Am. Co., 299 U.S. 248, 254-55 (1936). Although some courts have opted to rule on

pending motions to remand prior to the MDL Panel’s decision on transfer, see, e.g., Kantner

v. Merck & Co. Inc., No. l:04CV2044-JDT-TAB, 2005 WL 277688 (S.D. Ind. Jan. 26,

 

2005), there are many more that have chosen to grant a stay, even if a motion to remand has

been filed. L&, Anderson v. Merck & Co. Inc., No. 4:05-cv-89 (E.D. Mo. Mar. 16, 2005);

 

McCrerev v. Merck & Co.. Inc., No. 04-cv-2576 (S.D. Cal. Mar. 2, 2005); Dixon v. Merck

& Co. Inc., No. 05-0121 (S.D. Tex. Feb. 23, 2005).

 

There are several other Vioxx cases already pending in this district, and hundreds
more in other districts. In many of those cases, the joinder of non-diverse defendants is

contested and motions to remand have been or will be filed. Thus, the jurisdictional issues

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raised in this case are similar to those raised in other cases that have been or will be
transferred to the MDL proceeding

The Court finds that having the jurisdictional issues decided in one proceeding will
promote judicial economy and conserve judicial resources In addition, the Court finds that
any prejudice to the plaintiff resulting from a stay would be minimal. However, in the
absence of a stay, the risk to Merck of duplicative motions and discovery is significant

For the foregoing reasons, Merck’s motion to stay pending the MDL Panel’s transfer
decision is GRANTED. The motion to remand is deferred to the transferee court.

IT IS SO ORDERED.

 

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 1:05-CV-01121 was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

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US DISTRICT COURT

